 Case 4:19-cv-07123-PJH         Document 679-3   Filed 04/04/25     Page 1 of 3



1     Greg D. Andres
      Antonio J. Perez-Marques
2     Craig T. Cagney
      Luca Marzorati
3
       (admitted pro hac vice)
4     DA VIS POLK & WARDWELL LLP
      450 Lexington Avenue
5     New York, New York 10017
      Telephone: (212) 450-4000
6     Facsimile: (212) 701-5800
      Email: greg.andres@davispolk.com
7
               antonio.perez@davispolk.com
8              craig.cagney@davispolk.com
               luca.marzorati@davispolk.com
9
      Micah G. Block (SBN 270712)
      DA VIS POLK & WARDWELL LLP
      1600 El Camino Real
11    Menlo Park, California 94025
12    Telephone: (650) 752-2000
      Facsimile: (650) 752-2111
13    Email: micah.block@davispolk.com

14   Attorneys for Plaintiffs WhatsApp UC and
     Meta Platforms, Inc.
15
16
                               UNITED STATES DISTRICT COURT
17
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                      OAKLAND DIVISION
19

20    WHA TSAPP LLC, and                )
      META PLA TFORMS INC.,             )        Case No. 4: l 9-cv-07123-PJH
21                                      )
                      Plaintiffs,       )        DECLARATION OF MEGHAN
22                                      )        ANDRE IN SUPPORT OF
             V.                         )        PLAINTIFFS' MOTION FOR
23                                               PARTIAL SUMMARY JUDGMENT
                                        )
24    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )
25                                      )
                      Defendants.
26                                      )
27
28
 Case 4:19-cv-07123-PJH             Document 679-3          Filed 04/04/25       Page 2 of 3



 1           I, Meghan Andre, declare as follows:
2            1.      I submit this declaration in support of Meta Platforms, Inc. (''Meta") and
3    WhatsApp LLC's ("WhatsApp"; collectively, "Plaintiffs") Motion for Partial Summary
4    Judgment in the above-captioned matter. The information in this declaration is based on my
 5   personal knowledge ofthis matter. If called as a witness, I could competently testify to the truth

6    of each statement.
 7           2.      I am a Legal Investigator and Threat Researcher on the North American Litigation
 8   team. I have been employed by Meta since January 6, 2020. As part ofmy role, I am familiar
9    with WhatsApp's Terms ofService and WhatsApp's documentation ofa user's acceptance of
10   those Terms.
11           3.       Attached hereto as Exhibit A is a true and correct excerpt ofa spreadsheet
12   produced by Plaintiffs, bearing the Bates number WA-NSO-00195076. This spreadsheet reflects
13   the results ofa query I performed ofWhatsApp's business records for all account information
14   associated with the phone numbers referenced in Column AY ofthe sheet labeled "WhatsApp
15   Users" (the "Users"). The phone numbers for the Users were provided to me by counsel.
16           4.      The account information reflected in Exhibit A is recorded at the time ofeach
17   User's relevant activity on WhatsApp, and kept in the ordinary course ofWhatsApp's business.

18   It is WhatsApp's regular practice to record this account information.
19           5.      Column 0, titled "tos_accept_timestamp," indicates the date and time when the
20   Users first accepted the WhatsApp Terms ofService after Meta's acquisition ofWhatsApp in
21   2014.
22           6.      Column P, titled "tos_optout_timestamp," ifapplicable, indicates the date and
23   time when certain Users exercised their opportunity to opt out ofcertain terms related to the
24   collection of their data for advertising purposes.
25           7.      Colunm AM, titled "tos2_accept_tirnestamp," ifapplicable, indicates the date and
26   time after 2018 when Users in the European Union were prompted to reaffirm their agreement to

27   the amended WhatsApp Terms ofService due to changes relating to the European Union's
28   General Data Protection Regulation.


     DECLARATION OF MEGHAN ANDRE IN SUPPORT OF PLAINTIFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT- CASE
     No. 4: l 9-CV-07123-PJH
 Case 4:19-cv-07123-PJH            Document 679-3          Filed 04/04/25       Page 3 of 3



             8.      Column AV, titled "tos3 _accept_timestamp," if applicable, indicates the date and

2    time after 2021 when the Users were prompted to reaffirm their agreement to the amended
3    WhatsApp Terms of Setvice in effect at that time.
4           9.       In preparing this declaration, I have further reviewed WhatsApp's business

5    records pertaining to the release dates for certain versions of the WhatsApp mobile application.

6    According to those business records, WhatsApp Version 2.20.172 was released on May 25,

7    2020, WhatsApp Version 2.20.157 was released on May 11, 2020, and WhatsApp Version

8    2.20.140 was released on April 27, 2020.

9            I declare under penalty of perjury that the foregoing is true and correct. Executed on

10   September 27, 2024, in Village of Lakewood, Illinois.

11
12

13
                                                         Meghan Andre
14

15

16

17

18

19

20

21

22

23

24

25

26

27
28


     DECLARATION OF MEGHAN ANDRE IN SUPPORT OF PLAINfIFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT - CASE
     No. 4:19-CV-07123-Plli
